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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                       :       Honorable Douglas Arpert

                       v.                      :       Mag. No. 12-2547 (DA)

SEAN RUBLOW1TZ

                                                       ORDER FOR CONTfNUANCE


       This matter having been opened to the Court by Paul J. Fishman, United States Attorney

for the District of New Jersey (Jonathan W, Romankow. Assistant U.S. Attorney, appearing),

and defendant SEAN RUBLOWITZ (Aidan P. O’Connor, Esq.. appearing), for an order granting

a continuance of the proceedings in the above-captioned matter; and three continuances having

previously been granted: and the defendant being aware that he has the right to have the matter

presented to a Grand Jury within thirty (30) days of the date of his arrest pursuant to Title 18

U.S.C. ‘ 3161; and the defendant through his attorney having waived such rights and consented

to the continuance; and for good and sufficient cause shown,

       IT IS THE FiNDING OF THIS COURT that this action should be continued for the

following reasons:

               1.    Plea negotiations currently are in progress, and both the United States and the

       defendant desire additional time to enter a plea in Court, which would thereby render trial

       of this matter unnecessary.

               2.    Defendant has consented to the aforementioned continuance.

               3.    The grant of a continuance will likely conserve judicial resources.

              4.     Pursuant to Title 18 of the United States Code. Section 3161(h)(7)(A), the

       ends of justice served by granting the continuance outweigh the best interests of the

       public and the defendants in a speedy trial.
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       WHEREFORE. on this                    y                         2013;

       ORDERED that the proceedings in the above-captioned matter are continued from

January 11. 2013 through March 12. 2013: and it is further

       ORDERED that the period between from January 11. 2013 through March 12. 2013 shall

be excludable in computing time under the Speedy Trial Act of 1974.




                                     HON. DOUGLA ARPERT
                                     United States Magistrate Judge




Form and entry
consented


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JO14AT1\N ROMANKOW                      4
Assstaii U.S. Attorney
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AIDAN P. O’CONNOR, Esq.
Counsel for Defendant Sean Rublowitz
